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                           UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

 In re:
                                                             Chapter 11
           B GSE Group, LLC,
                                                             Case No. 23-30013
                          Debtor.

                  MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE

          NOW COMES undersigned counsel for John Bean Technologies Corp., a creditor in the

above-captioned case, and hereby moves pursuant to Local Bankruptcy Rule 2090-2 for admission

pro hac vice of Steven McMahon Zeller (“Applicant”) to the court for the purpose of representing

John Bean Technologies Corp. In support of the Motion, the undersigned would respectfully show

the Court the following:

          1.      Applicant is a member of the law firm of Dykema Gossett PLLC with offices

located in Michigan, Texas, Illinois, California, Wisconsin, Minnesota, and Washington D.C.

          2.      Applicant is a member in good standing of the bar of the State of Illinois. Applicant

is also admitted and in good standing before the United States Court of Appeals, Federal Circuit,

and the following United States District Courts: Northern and Central Districts of Illinois and the

Eastern District of Michigan.

          3.      Applicant’s appearance in this matter will be in association with the undersigned,

who is a member in good standing of the North Carolina State Bar and who is admitted to practice

before this Court.

          4.      The Declaration of Applicant supporting this Motion is attached hereto and is

incorporated herein by reference.




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         5.       The $288.00 fee for admission pro hac vice is being submitted with the filing of

this Motion.

         WHEREFORE, the Movant respectfully requests that this Court enter an Order admitting

Steven McMahon Zeller pro hac vice in this matter as set forth herein.


Dated: January 10, 2023
       Charlotte, North Carolina
                                               HAMILTON STEPHENS
                                               STEELE + MARTIN, PLLC

                                               /s/ Glenn C. Thompson
                                               Glenn C. Thompson (NC Bar No. 37221)
                                               525 North Tryon Street, Suite 1400
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                                               Telephone: (704) 344-1117
                                               Facsimile: (704) 344-1483
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                                              Counsel for John Bean Technologies Corp.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this day, the foregoing Motion for Admission to Practice Pro Hac

Vice and Declaration of Steven McMahon Zeller were served by electronic means on those parties

registered with the United States Bankruptcy Court, Western District of North Carolina ECF

system to receive notices for this case.


Dated: January 10, 2023
       Charlotte, North Carolina
                                              HAMILTON STEPHENS
                                              STEELE + MARTIN, PLLC

                                              /s/ Glenn C. Thompson
                                              Glenn C. Thompson (NC Bar No. 37221)
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                                             Counsel for John Bean Technologies Corp.




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